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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JEREMY ADKINS,                                 :         CIVIL ACTION
                         Plaintiff,            :
                                               :
               v.                              :
                                               :
H&K GROUP, INC., et al.,                       :
                    Defendants.                :         NO. 21-cv-01847



                                         ORDER

        AND NOW, this 14th day of February 2022, it having been reported that the issues
between the parties in the above action have been settled (ECF No. 27) and upon Order of the
Court pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this
Court, it is


        ORDERED that the above action is DISMISSED with prejudice, pursuant to the
agreement of counsel without costs.



                                                   BY THE COURT:

                                                   /s/ Chad F. Kenney
                                                   _________________________
                                                   CHAD F. KENNEY, JUDGE




Civ. 2 41.1(b) (3/18)
